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IN THE MATTER OF THE SEARCH OF: A white Google Pixel 3..., Slip Copy (2019)




                                                                  The seized cellphone was “locked” and required a swipe
                  2019 WL 3401990
                                                                  pattern (“passcode”) or a fingerprint to unlock it. After the
    Only the Westlaw citation is currently available.
                                                                  original warrant was served, an authorized law enforcement
        United States District Court, D. Idaho.
                                                                  officer brought a sworn criminal Complaint against the
   IN THE MATTER OF THE SEARCH OF: A white                        individual and the Magistrate Judge signed a bench warrant
  Google Pixel 3 XL cellphone in a black Incipio case.            authorizing the individual's arrest. The Government then
                                                                  applied for an additional search warrant authorizing law
               Case No.: 1:19-mj-10441-DCN                        enforcement to “compel [the subject] to provide biometric
                              |                                   input needed to unlock the ... cellphone ... [by] press[ing] any
                     Filed 07/26/2019                             finger and/or thumb of any hand of [the individual] against the
                                                                  sensor of the fingerprint reader used to unlock the ... phone.”
                                                                  Dkt. 3, at 2. The Government's stated purpose in seeking
        DECISION AND ORDER ON REVIEW                              the authorization was “to authorize law enforcement to press
        OF MAGISTRATE JUDGE'S ORDER                               the fingers, including thumbs, of [the subject] to the touch
                                                                  identification sensor on the Google Pixel 3 XL cellphone.”
David C. Nye Chief U.S. District Court Judge                      Affidavit in Supp. Of App. for Search Warrant, Dkt. 2, at
                                                                  ¶ 18. The Government further represented in its application
                                                                  for the additional warrant that it already knew this particular
                   I. INTRODUCTION
                                                                  cellphone belonged to the individual who was subject to the
 *1 The United States seeks review of a Magistrate Judge's        warrant because the individual stated—when questioned at
order denying the Government's search warrant application.        his residence by police officers executing the warrant—that
Dkt. 5. The Government's application sought permission to         his phone was in the bathroom where he had been just prior
place a subject's finger on a cellphone to unlock the phone to    to answering the door. The Google Pixel 3 XL cellphone was
conduct a forensic search. The Magistrate Judge denied the        subsequently found in that bathroom.
application, ruling that the requested search warrant would
violate the subject's Fifth Amendment rights. Dkt. 3. The         The Magistrate Judge issued an order denying the additional
Government subsequently filed a Motion to Reverse or Vacate       warrant on the basis that the warrant, if granted, would violate
the Magistrate's Order. Dkt. 5. Upon review, and for the          the individual's Fifth Amendment rights because it would
reasons set forth below, the Court GRANTS the Government's        compel the individual to give self-incriminating testimony.
Motion.                                                           The Magistrate Judge further held that the violation of the
                                                                  individual's Fifth Amendment rights would violate the Fourth
                                                                  Amendment.

                    II. BACKGROUND
                                                                   *2 The Government filed a motion with this Court to reverse
The Government was investigating an individual believed           or vacate the Magistrate Judge's order claiming that using
to be in possession of child pornography in violation of 18       a fingerprint to open a cellphone is not a Fifth Amendment
U.S.C. § 2252(a)(5)(B). As part of that investigation, the        violation. Additionally, the Government asserts there is a split
Government properly obtained a search warrant authorizing         at the magistrate judge level of this District Court on this
a search of the individual, his vehicle, and his residence. The   issue.
warrant permitted seizure of “desktop computers, notebook
computers, mobile phones, tablets, server computers, and
network hardware” if such “constitute evidence of the                                 III. JURISDICTION
commission of a criminal offense, contraband, the fruits of
crime, or property designed or intended for use or which is or    The Federal Magistrates Act gives magistrate judges the
has been used as the means of committing a criminal offense.”     authority to decide non-dispositive pretrial matters. 28 U.S.C.
Dkt. 3, at 2. The Government used the warrant to search the       § 636(b)(1)(A). Decisions regarding search warrants are part
residence and to seize, among other things, a Google Pixel 3      of that authority. See Gomez v. United States, 490 U.S.
XL cellphone from a bathroom in the residence.                    858, 868 n.16 (1989). The Act also gives district judges the



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authority to review or reconsider any non-dispositive pretrial      which the alleged injury will either cease or no longer be
matter. 28 U.S.C. § 636(b)(1)(A); See also Fed. Rule Crim           redressable. The limited duration of the controversy must be
Proc. 59(b)(2) and (3). Thus, the Magistrate Judge had the          clear at the action's inception. Id.
authority to issue the order and this Court has the authority to
review the Magistrate Judge's order.                                 *3 In this case, the Government is the complaining party.
                                                                    The prevalence of cellphones continues to rise and the
                                                                    Government's applications for search warrants for biometric
                                                                    data likewise continues to rise. A search warrant must be
                      IV. MOOTNESS
                                                                    processed within 48 hours of the Government's seizure of a
The ability to unlock a cellphone with a fingerprint (biometric     cellphone or the biometric data becomes meaningless. This
encryption) expires after 48 hours of not unlocking it. At that     situation fits the “capable of repetition, yet evading review”
point, a passcode of some type must be used. Here, it took the      exception to the mootness doctrine. The Court concludes that
Magistrate Judge a few days to issue the order denying the          this motion can be heard and decided despite the mootness of
                                                                    the issue due to this exceptional situation.
warrant 1 and then took the Government eight days to file its
motion for review. Consequently, any decision by the court in
                                                                    This Court is not prepared to rule that this situation also
this case will have no impact on this case. The Government
                                                                    fits the split of authority exception within this District. The
simply can no longer unlock the cellphone with a fingerprint.
                                                                    Government has cited two cases in which one magistrate
The issue is, therefore, moot under County of Los Angeles v.
                                                                    judge granted search warrants for biometric data relating to a
Davis, 440 U.S. 625, 631 (1979).
                                                                    cellphone. The Government then juxtaposes those two cases
                                                                    against this case to argue that a split exists within the District
The Government argues that there are two exceptions to the
                                                                    of Idaho as to how magistrate judges rule in this type of
mootness doctrine applicable here. First, the issue is capable
                                                                    situation.
of repetition yet evading review. Second, the two magistrate
judges in the District of Idaho appear to be split regarding the
                                                                    However, the Government has not cited to a single written
use of biometrics in search warrants. Both exceptions will be
                                                                    decision—and none exists to the Court's knowledge—where
discussed.
                                                                    a magistrate judge, or any judge from this District, has held
                                                                    that biometric data relating to a cellphone can be obtained
Article III of the Constitution limits federal court jurisdiction
                                                                    by a warrant despite either Fourth Amendment or Fifth
to “cases and controversies.” Hamamoto v. Ige, 881 F.3d 719
                                                                    Amendment concerns. The mere fact that a magistrate judge
(9th Cir. 2018). Thus, to qualify as a case fit for federal
                                                                    has signed search warrants that permitted law enforcement to
court jurisdiction, an actual controversy must be extant at all
                                                                    use a person's biometrics to unlock electronic devices does
stages of review, not merely at the time the complaint is filed.
                                                                    not mean that the magistrate judge has had the opportunity to
Davis v. Fed. Election Comm'n, 554 U.S. 724, 732-33 (2008).
                                                                    carefully and meaningfully decide the issue raised in this case.
An exception exists for controversies that are “capable of
                                                                    After all, the very ex parte nature of applications for search
repetition, yet evading review.” Hamamoto, at 721 (quoting
                                                                    warrants does not lend itself to issues being raised as part of
Kingdomware Techs, Inc. v. United States, 136 S. Ct. 1969
                                                                    the process. It is not clear to this Court that there is a reasoned
(2016) (“Although a case would generally be moot in such
                                                                    split of opinion between the magistrate judges in this District.
circumstances, this Court's precedents recognize an exception
                                                                    This Court does not rely on the “split of authority” exception
to the mootness doctrine for a controversy that is ‘capable of
                                                                    to address this issue.
repetition, yet evading review.’ ”)). According to the Ninth
Circuit, that exception only applies in limited situations,
where (1) the challenged action is in its duration too short
to be fully litigated prior to cessation or expiration, and (2)                            V. DISCUSSION
there is a reasonable expectation that the same complaining
party will be subject to the same action again. Hamamoto,           In the original search warrant application, the Government
at 721. The Ninth Circuit further explained that to fit this        sought authority to search an individual, a vehicle, and a
“exceptional situation” exception, the controversy must be of       residence. The Magistrate Judge found that the application
inherently limited duration. Id. That is, the controversy will      established probable cause and signed the warrant. That
only ever present a live action until a particular date, after      probable cause finding is not at issue in this review. In



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the additional search warrant application, the Government            of the Magistrate Judge and authorized the search warrant
sought authority to have law enforcement officers apply the          seeking to use biometric data to unlock a cellphone.
individual's fingers to a cellphone found during the search of
the residence.                                                       In doing so, the District Judge recognized:

The Magistrate Judge denied the authorization for biometric            The privacy concerns at stake in government access to
data, holding that the compelled pressing of the fingerprint           smart devices are intense, both because of the nature
to the cellphone sensor would violate the Fifth Amendment's            of the information that people store on those devices
privilege against self-incrimination. The Magistrate Judge             – pretty much every kind of information there is, from
reasoned that compliance with a warrant authorizing an                 personal, financial, and professional – and because of the
attempt by law enforcement to unlock the phone with the                sheer volume of information that can be stored on them.
individual's fingerprints inescapably requires a compelled             But the constitutional text, as interpreted by governing
testimonial communication because the individual would                 case law, draws a distinction between compelling a
provide a “compulsory authentication of incriminating                  person to communicate something to the government
information” and would “aid in the discovery, production, or           versus compelling a person to provide some physical
authentication of incriminating evidence.” Dkt. 3, at 9 (citing        characteristic as part of an investigation. Indeed, as the
Andresen v. Maryland, 427 U.S. 463, 474 (1976)). This in               Supreme Court has explained, this distinction renders
turn, according to the Magistrate Judge, would violate the             what is widely known as the “privilege against self-
individual's Fifth Amendment rights because it would compel            incrimination” as something of a misnomer. United States
the individual to give self-incrimination testimony.                   v. Hubbell, 530 U.S. 27, 34, 120 S. Ct. 2037, 147
                                                                       L.Ed.2d 24 (2000) (“[t]he term ‘privilege against self-
The compelled unlocking of digital devices using biometric             incrimination’ is not an entirely accurate description of a
means is an emerging area of law that raises both Fourth               person's constitutional protection”).
and Fifth Amendment concerns. There appears to be several
                                                                     Id. at 803. The Illinois District Judge held that so long as
decisions throughout the country that have addressed the issue
                                                                     the person being investigated was only compelled to provide
in the federal district courts with mixed results. However, it
                                                                     a physical characteristic, i.e., a fingerprint, instead of being
also appears that neither the United States Supreme Court or
                                                                     compelled to provide a communication or thought process,
any federal circuit court have addressed this issue.
                                                                     there was no Fifth Amendment violation:

 *4 One case relied upon by the Idaho Magistrate Judge                 Again, the fingerprint seizure itself does not reveal the
is In re Application for a Search Warrant, 236 F. Supp. 3d             contents of the person's mind in the way that disclosure
1066 (N.D. Ill. Feb. 16, 2017), where an Illinois Magistrate           of a passcode would or in the way that disclosure of
Judge held that providing a fingerprint to unlock a smartphone         a cryptography key would. Yes, compelling someone to
does explicitly or implicitly relate a factual assertion or            reveal information on how to decrypt data is compelling
disclose information in violation of the Fifth Amendment.              testimony from that person. But obtaining information from
The Government did not appeal or seek district judge review            a person's mind is not what happens when agents pick
of that decision. However, five days later, in In the Matter of        a finger to apply to the sensor. So compelling physical
the Search of: The SINGLE-FAMLY HOME AND ATTACHED                      access to information via the fingerprint seizure is no
GARAGE located at [redacted], 2017 WL 4563870 (N.D.                    different from requiring someone to surrender a key to
Ill. Feb. 21, 2017), a Magistrate Judge in the Northern                a safe whose contents otherwise would not be accessible
District of Illinois again held that providing a fingerprint to        to the government. The surrender of the key may be
unlock a smartphone relates a factual assertion or discloses           compelled, but the compelling of the safe's combination
information in violation of the Fifth Amendment. This time,            is forbidden. See Doe, 487 U.S. at 210 n.9, 108 S. Ct.
the Government did seek review from a district judge. See,             2341 (signing generic consent form does not force a
In the MATTER OF the SEARCH WARRANT APPLICATION                        person “to express the contents of his mind,” so it is
FOR [redacted text], 279 F. Supp. 3d 800 (N.D. Ill. 2017). The         more like surrendering a key rather than revealing the
facts of that Illinois case are substantially similar to the facts     combination”). The same principle applies here: a person
present in this case. The District Judge reversed the decision         generally cannot be compelled to disclose the passcode




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  (like the safe's combination) but can be compelled to
  provide the fingerprint (like the key to the safe).         Id. at 534 (emphasis in original).


Id. at 803 (emphasis added). 2                                The Magistrate Judge went on to recognize however that
                                                              the compulsion at issue under the Fifth Amendment was the
 *5 A Magistrate Judge addressed this same issue in the DC    compelled use of the subject's biometric features to unlock the
circuit, in In Matter of Search of [Redacted] Washington,     subject devices and gain access to incriminating information
District of Columbia, 317 F. Supp. 3d 523 (D.D.C. 2018) and   that may be on them. The Judge then stated:
reached the same conclusion as the Illinois District Judge.
                                                                As other courts have recognized, there will be no revelation
In that case, the application for a warrant asked that law
                                                                of the contents of the subject's mind with the procedure
enforcement be allowed to compel the subject to provide
                                                                proposed by the government for collection of the subject's
biometric features such as their face or fingerprints. The
                                                                biometric features. Rather, “[t]he government chooses the
Magistrate Judge held, as to the Fourth Amendment:
                                                                finger to apply to the sensor, and thus obtains the physical
                                                                characteristic – all without the need for the person to put
                                                                any thought at all into the seizure.” Indeed, the use of the
            [T]he Court thus finds that, when                   fingerprint is much more like the government's compelled
            attempting to unlock a telephone,                   use of other “physical characteristics” of criminal suspects
            computer or other electronic device                 that courts have found non-testimonial even when they
            during the execution of a search                    are used for investigatory purposes rather than solely for
            warrant that authorizes a search of the             identification.
            device, the government may compel
            the use of an individual's biometric              Id. at 536 (internal citations omitted).
            features, if (1) the procedure is
            carried out with dispatch and in the              The issue has also been addressed by judges in this Circuit.
            immediate vicinity of the premises to             A Magistrate Judge in the Northern District of California
            be searched, and if, at time of the               recently declined to reach the Fifth Amendment issue in
            compulsion, the government has (2)                this type of case, applying instead the “foregone conclusion
            reasonable suspicion that the suspect             doctrine”. 3 In doing so, that Magistrate Judge wrote:
            has committed a criminal act that
            is the subject matter of the warrant,               The Court turns next to the critical question: whether the
            and (3) reasonable suspicion that the               testimony inhering to Mr. Spencer's act of production is a
            individual's biometric features will                foregone conclusion such that ordering him to decrypt the
            unlock the device, that is, for example,            at-issue devices will not implicate the Fifth Amendment.
            because there is a reasonable suspicion             The foregone conclusion doctrine is an application of
            to believe that the individual is a user            the Fifth Amendment “by which the Government can
            of the device.                                      show that no testimony is at issue.” In re Grand Jury
                                                                Subpoena Duces Tecum Dated Mar. 25, 2011, 670 F.3d
                                                                1335, 1343 n.19 (11th Cir. 2012). The Supreme Court
Id. at 532-533.                                                 articulated the foregone conclusion doctrine in Fisher v.
                                                                United States, where it upheld the subpoena of potentially
Then, as to the Fifth Amendment, the D.C. Magistrate Judge      incriminating tax documents because the government did
held:                                                           not rely on the respondent's tacit testimony—that is, the
                                                                “truth-telling” arising from the very act of production—to
  [T]he seizure of any incriminating information found on       prove the existence of the documents or that the respondent
  the phones or computers discovered during the search          possessed them. The Court thus held that “[t]he existence
  of the premises would not violate the Fifth Amendment         and location of the papers [were] a foregone conclusion and
  because the “creation” of that information was voluntary      the taxpayer add[ed] little or nothing to the sum total of the
  and “not ‘compelled’ within the meaning of the privilege      Government's information.” Id. (“doubtful that implicitly
  [against self-incrimination].”                                admitting the existence and possession of the papers [rose]



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    to the level of testimony within the protection of the        The Illinois District Judge provided a list of examples 5
    Fifth Amendment”). Because the implicit testimony was a       where the Supreme Court has held that compelling displays
    foregone conclusion, the matter reduced to a question “not    of certain physical features do not violate the privilege against
    of testimony but of surrender.”                               self-incrimination: putting on a shirt to see whether it fit
                                                                  the defendant, Holt v. U.S., 218 U.S. 245 (1910); providing
 *6 Matter of Search of a Residence in Aptos, California          a blood sample to test for alcohol content, Schmerber v.
95003, No. 17-MJ-70656-JSC-1, 2018 WL 1400401, at *6              California, 384 U.S. 757 (1966); submitting to the taking of
(N.D. Cal. Mar. 20, 2018). On review, the District Judge          fingerprints or photographs, see Schmerber, 384 U.S. at 764
denied the defendant's Motion for Relief from a Magistrate        and United States v. Wade, 388 U.S. 218 (1967); providing a
Judge's Order. See, United States v. Spencer, 2018 WL             voice exemplar, United States v. Wade, 388 U.S. 263 (1967);
19644588 (N.D. Cal. 2018).                                        and providing a handwriting exemplar, Gilbert v. California,
                                                                  388 U.S. 263 (1967).
Later, in In the Matter of the Search of a Residence in
Oakland, California, 354 F. Supp. 3d 1010 (N.D. Cal. 2019),        *7 Where, as here, the Government agents will pick the
another Magistrate Judge held that biometric features that        fingers to be pressed on the Touch ID sensor, there is no
are utilized to potentially unlock an electronic device are       need to engage the thought process of the subject at all in
testimonial under the Fifth Amendment's privilege against         effectuating the seizure. The application of the fingerprint to
self-incrimination. That Magistrate Judge further held that       the sensor is simply the seizure of a physical characteristic,
the foregone conclusion doctrine did not apply. In doing
                                                                  and the fingerprint by itself does not communicate anything. 6
so, the Magistrate Judge reasoned that biometric features
                                                                  It is less intrusive than a forced blood draw. Both can
serve the same purpose as a passcode, and existing caselaw
                                                                  be done while the individual sleeps or is unconscious.
uniformly does not allow warrants that compel the disclosure
                                                                  Accordingly, the Court determines—in accordance with a
of passcodes. However, caselaw makes a clear distinction
                                                                  majority of Courts 7 that have weighed in on this issue
between biometric features and passcodes on the basis that
                                                                  —that the requested warrant would not violate the Fifth
passcodes are testimonial. 4
                                                                  Amendment because it does not require the suspect to provide
                                                                  any testimonial evidence. 8
The Fifth Amendment prevents the Government from
compelling a person to be a witness against himself. To
qualify for the Fifth Amendment privilege, a communication
must be: (1) testimonial, (2) incriminating, and (3) compelled.                            IV. ORDER
See Hiibel v. Sixth Judicial Dist. Court, 542 U.S. 177, 189
(2004). Witnesses provide testimony, so that is the forbidden        1. The United States' Motion to Reverse or Vacate
compulsion: the Government cannot force someone to                     Magistrate's Order Denying Search Warrant (Dkt. 5) is
provide a communication that is “testimonial” in character.            GRANTED.
Hubbell, 530 U.S. at 34. The Supreme Court has repeatedly
                                                                     2. The Magistrate Judge's Order (Dkt. 3) is VACATED.
distinguished between compelling a communication versus
compelling a person to do something that, in turn, displays a     All Citations
physical characteristic that might be incriminating. Id. at 35.
                                                                  Slip Copy, 2019 WL 3401990


Footnotes
1       In no way is the Court criticizing the Magistrate Judge for taking a few days to issue his order. This is a complex legal
        question with courts throughout the country ruling on both sides of the issue.
2       The concept referenced here—and found throughout many similar decisions on this issue—regarding the use of a key or
        combination in conjunction with a safe comes from Doe v. United States, 487 U.S. 201 (1988). In that case, the United
        States Supreme Court made a comparison between being compelled to surrender a key to a strongbox or safe containing
        incriminating documents (and how that would not be a testimonial act), and being compelled to reveal the combination
        to a safe (which would be a testimonial act). Id. at 210 n. 9. The Court explained that whether an act was testimonial




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      —and therefore unconstitutional—revolved around whether the act forced the defendant to “disclose the contents of his
      own mind.” Id. at 211.
3     This was not a fingerprint case but a passcode case. The police were not seeking a warrant to place the suspect's finger
      on a cellphone to unlock it. Instead, the police were seeking a warrant forcing the suspect to enter the passcode on to
      the cellphone. If a warrant can require the suspect to enter a passcode, it can also require the suspect to allow his finger
      to be placed on the cellphone because entering a passcode requires more mental energy than involuntarily placing a
      finger on a sensor.
4     See, United States v. Maffei, 2019 WL 1864712 (N.D. Cal. 2019) (“Thus, the Court finds that obtaining defendant's
      passcode, rather than a biometric key, constituted materially different conduct for the purposes of determining whether
      law enforcement exceeded the scope of the warrant.”); Commonwealth v. Baust, 89 Va. Cir. 267, 271 (Va. Cir. Ct. 2014)
      (finding that the defendant could not be compelled to provide access to his smartphone through his passcode because
      “compelling Defendant to provide access through his passcode is both compelled and testimonial and therefore protected”
      by the Fifth Amendment, but he could be compelled to produce his fingerprint to provide access because it was more
      akin to a key which “does not require the witness to divulge anything through his mental processes”).
5     See In the MATTER OF the SEARCH WARRANT APPLICATION FOR [redacted text], 279 F. Supp. 3d at 803.
6     The Court takes no position on the issue of cellphone ownership vis-a-vi the introduction of the fact that a defendant's
      fingerprint opened the cellphone. That issue is not before the Court today. The Court's narrow finding relates to law
      enforcement's use of a fingerprint to gain access to a cellphone under a valid search warrant.
7     None of the cases cited by the Government, referenced in the Magistrate Judge's decision, or even cited in this decision
      are binding on the Court (except insofar as the United States Supreme Court's cases are on point). This is an emerging
      issue and while many Courts from around the Country provide helpful analysis in their decisions, each is but persuasive
      on this Court. The reader may also be interested in State v. Diamond, 905 N. W. 2d 870 (Minn.) (2018), and People v.
      Davis, 438 P.3d 266 (Colo.) (2019), State Supreme Court cases discussing these issues.
8     The Court need not discuss whether the communications and actions here are incriminating or compelled because, even
      assuming arguendo they are, the Court has already determined that it is nonetheless not testimonial. “To qualify for
      the Fifth Amendment privilege, a communication must be testimonial, incriminating, and compelled.” Hiibel, 542 U.S.
      at 189 (emphasis added). Along a similar vein, the Court need not address the Fourth Amendment arguments raised.
      The Magistrate Judge in this case determined that because the Government's actions impermissible violated the Fifth
      Amendment, they, in turn, violated the Fourth Amendment's requirement that a search and seizure be “reasonable.” By
      determining that the Government would not violate the Fifth Amendment by placing a defendant's finger on a cellphone
      sensor, the Court accordingly finds that such a “search and seizure” would likewise comport with the Fourth Amendment's
      reasonableness requirement.


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